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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW HAMPSHIRE


 G.K., et al.,

                           Plaintiffs,

 v.
                                                                  Case No. 21-CV-4-PB

 CHRISTOPHER SUNUNU, et al.,

                           Defendants.




      JOINT MOTION TO STAY LITIGATION, DISCOVERY, AND DEADLINES TO
                         ENGAGE IN MEDIATION

        The parties jointly ask the Court for a limited stay of litigation, discovery, and deadlines

nunc pro tunc as of November 17, 2023 to allow the parties to focus on mediation. In support of

this motion, the parties state:

        1. Plaintiffs’ putative class action complaint was filed on January 5, 2021.

        2. On November 14, 2023, the parties appeared before the Court on Plaintiffs’ Motion

            for Class Certification (see ECF No. 152).

        3. There are various ongoing, labor-intensive discovery and deadline disputes between

            the parties.

        4. On November 17, 2023, the parties agreed to seek the assistance of a mediator to

            attempt to resolve this matter. The parties further agreed to stay all deadlines,

            discovery, and litigation, as of November 17, 2023, and through at least January 1,

            2024, to allow them to fully engage in the mediation process.
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   5. The relief requested in this Motion would extend by a minimum of 45 days deadlines

       set forth in the Court’s May 3, 2023 scheduling order (ECF No. 161-1), and thus

       would ordinarily require accompanying proposed extended deadlines. See L.R.

       7.2(a). However, various matters may otherwise impact deadlines or extend the stay,

       including the possibility that mediation efforts will not yet be resolved, and a

       contemplated status conference before the Court in early January to discuss issues

       which may include Plaintiffs’ Motion to Extend Deadlines (ECF No 255) and

       Defendants’ Opposition thereto, Plaintiffs’ anticipated motion for leave to supplement

       certain expert declarations in support of class certification (to which Defendants

       anticipate responding), and a possible evidentiary hearing regarding Plaintiffs’ expert

       declarations. The parties therefore request, in lieu of submitting proposed dates with

       this joint motion, that the Court schedule a status conference in early January to

       discuss the status of mediation and case deadlines. The parties anticipate filing

       proposed dates after the status conference.

   6. No memorandum of law is attached, as the relief requested lies within the Court's

       discretion. See L.R. 7.1(a)(2).



   WHEREFORE, the parties ask that this Court:

A. Stay all litigation, discovery, and deadlines nunc pro tunc as of November 17, 2023, so

   the parties may focus on mediation; and

B. As contemplated by the Court on November 14, 2023, schedule a status conference for

   early January to discuss the status of mediation and (if mediation is no longer

   productive), to discuss case deadlines and other pending matters.



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Dated: December 1, 2023            Respectfully submitted,


                                   PLAINTIFFS, G.K., et al.,

                                   By their attorneys,



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